51 F.3d 273
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Tracy Orlanda BROOKS, Defendant-Appellant.
    No. 94-6001.
    United States Court of Appeals, Sixth Circuit.
    April 5, 1995.
    
      1
      Before:  JONES, NELSON, and RONEY,* Circuit Judges.
    
    ORDER
    
      2
      Tracy Orlanda Brooks appeals a conviction entered on a plea of guilty to one count of conspiracy to possess crack cocaine with intent to distribute it in violation of 21 U.S.C. Secs. 846 and 841.  The district court sentenced Brooks to imprisonment for a term of 120 months, to be followed by a five year term of supervised release, and imposed a $50 special assessment.  The case has been referred to a panel of the court pursuant to Rule 9(a), Rules of the Sixth Circuit.  Upon examination, this panel unanimously agrees that oral argument is not needed.  Fed.R.App.P. 34(a).
    
    
      3
      In this timely appeal, Brooks lawyer has moved to withdraw as counsel and has filed a brief in compliance with Anders v. California, 386 U.S. 738 (1967).  Brooks has not responded to his counsel's motion to withdraw.
    
    
      4
      Upon review, we conclude that no reversible error is apparent on the face of the record.  Accordingly, we grant counsel's motion to withdraw and affirm the district court's judgment.  Rule 9(b)(3), Rules of the Sixth Circuit.
    
    
      
        *
         The Honorable Paul H. Roney, United States Circuit Judge for the Eleventh Circuit, sitting by designation
      
    
    